Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 1 of 17 PageID #: 7351




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: ETHICON, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION

                                                                             MDL No. 2327

-------------------------------------------------

THIS DOCUMENT RELATES TO ALL CASES


                                       PRETRIAL ORDER # 13
                             (Stipulation for the Production of Documents
                                and Electronically Stored Information)

         In order to meet their responsibilities under the Federal Rules of Civil Procedure relative

to production of electronically stored information, and to address the method of production of

physically stored information, the plaintiffs and Johnson & Johnson and Ethicon, Inc. have

stipulated to and petitioned the court to enter the following Stipulation for the Production of

Documents and Electronically Stored Information in this matter, attached as Exhibit A.

         It is ORDERED that the Stipulation attached as Exhibit A applies to plaintiffs, Johnson

& Johnson and Ethicon, Inc. in all actions that are or become a part of MDL 2327, until further

order of the court.

         The court DIRECTS the Clerk to file a copy of this order in 2-12-md-2327 and it shall

apply to each member related case previously transferred to, removed to, or filed in this district,

which includes counsel in all member cases up to and including civil action number 2-12-cv-

4868. In cases subsequently filed in this district, a copy of the most recent pretrial order will be

provided by the Clerk to counsel appearing in each new action at the time of filing of the
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 2 of 17 PageID #: 7352




complaint. In cases subsequently removed or transferred to this court, a copy of the most recent

pretrial order will be provided by the Clerk to counsel appearing in each new action upon

removal or transfer. It shall be the responsibility of the parties to review and abide by all pretrial

orders previously entered by the court. The orders may be accessed through the CM/ECF system

or the court=s website at www.wvsd.uscourts.gov.

                                         ENTER: August 30, 2012




                                                -2-
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 3 of 17 PageID #: 7353




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

IN RE: ETHICON, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION

                                                                            MDL No. 2327
-------------------------------------------------
THIS DOCUMENT RELATES TO ALL CASES


                                           EXHIBIT A

         STIPULATION FOR THE PRODUCTION OF HARDCOPY DOCUMENTS
                AND ELECTRONICALLY STORED INFORMATION

I. GENERAL PROVISIONS

         The parties will prepare their discovery disclosure and production documents in

accordance with the agreed-upon specifications set forth below:

         A. Prior Productions. If there are instances where a party is asked to produce

physically-stored information (hardcopy documents) or electronically-stored information (ESI)

that was previously produced in another case, proceeding or government investigation, the

producing party should make best efforts to comply with this Stipulation. If for some reason the

producing party believes compliance with this Stipulation is too burdensome for the instances of

previous productions, the parties will meet to arrive at a mutually acceptable format that provides

the receiving party with a production that can be reasonably accessed and used by the receiving

party.

         B. Privilege Log. The parties shall provide privilege logs in accordance with Fed.

R. Civ. P. 26(b)(5).
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 4 of 17 PageID #: 7354




II. PRODUCTION OF PHYSICALLY STORED INFORMATION

       A. TIFFs. Each hardcopy document shall be scanned as single page, Group IV

compression TIFF images using a print setting of at least 300 dots per inch (DPI). Each image

shall have a unique file name, which is the Bates number of the image. To the extent

technically available through the use of purely automated methods, and provided that no extra

costs be incurred, original document orientation shall be maintained (i.e., portrait to portrait

and landscape to landscape). Each document shall be produced intact (single documents shall

not be split into multiple records).

       B. Index Fields. For each hardcopy document, the following information shall be

produced and provided in the data load file at the same time that the TIFF images and the

Optical Character Recognition (OCR) acquired text files are produced. Each index field shall

be labeled as listed below:


(a) Beginning Production Number (ProdBeg),


(b) Ending Production Number (ProdEnd),


(c) Beginning Attachment Production Number (BegAttach),


(d) End Attachment Production Number (EndAttach),


(e) Custodian_Source,


(f) Confidentiality,


(g) Document Type, and



                                                  2
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 5 of 17 PageID #: 7355




(h) DocDate (consistent with the date and time fields in Appendix 2).

          C. OCR Acquired Text Files. For each hardcopy document, a single text file containing

the OCR acquired text shall be provided along with the image file and metadata. The text file

name shall be the same as the Bates number of the first page of the document to which it

corresponds.

          D. Unitizing of Documents. Distinct documents shall not be merged into a single record,

and single documents shall not be split into multiple records (i.e., hardcopy documents should be

logically unitized). In the case of an organized compilation of separate documents – for example,

a binder containing several separate documents behind numbered tabs – the document behind

each tab should be scanned separately, but the relationship among the documents in the binder

should be reflected in proper coding of the BegAttach and EndAttach fields. The parties will

make their best efforts to unitize documents.


III. PRODUCTION OF ELECTRONICALLY STORED INFORMATION


          A. Culling. The parties shall meet and confer to discuss the following in an effort to

reduce the number of documents to be reviewed during the discovery process: search term

culling, file type culling, de-duplication of documents, and date restrictions. In the event of a

dispute regarding the search methodology or technology, the parties shall meet and confer to

discuss any methodology or technologies being employed to conduct searches for and production

of ESI.

          B. System Files. Common systems and program files need not be processed, reviewed or

produced. To the extent collected, the producing party shall keep an inventory of the system

files not being produced and the criteria (e.g., non-human readable file, etc.) for not processing



                                                   3
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 6 of 17 PageID #: 7356




the files. In the event of a dispute regarding such matter, the parties shall meet and confer to

discuss disclosure of inventory of non-produced files and criteria for non-processing of same.

       C. De-duplication. Removal of duplicate documents shall only be done on exact

duplicate documents (based on MD5 or SHA-1 hash values at the document level) and may

be done across custodians and sources. Near-duplicate documents shall be produced rather

than removed. The custodian associated with the first copy of a document processed will be

considered the “pivot” custodian for that document (the custodian who will be used as the

basis for determining which other collected documents are duplicates). After each

production, the producing party shall produce an “other sources” listing of all other

custodians or sources who or which possessed each duplicate document. In addition, after

each production, the producing party will produce a de-duplication log that contains the Bates

number of the produced version of each de-duplicated document (for lookup purposes), and

the de-duplicated custodian or source,.

       D. Metadata Fields and Processing. Each of the metadata and index fields set forth

in Appendix 2 that can be reasonably extracted from a document shall be produced for that

document. If either of the parties become aware of a problem extracting metadata or any

other problem with the metadata fields or processing, the party who becomes aware of the

problem will notify the other party and use the party’s best efforts to meet and confer with the

other party to arrive at a mutually acceptable resolution to the issue. The parties are not

obligated to populate manually any of the fields in Appendix 2 if such fields cannot be

extracted from a document. The Custodian-Source shall be identified for produced

documents.




                                                 4
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 7 of 17 PageID #: 7357




       E. Native File Productions. To the extent that this Stipulation indicates that ESI is to

be produced in its native format, the parties will reserve specific Bates ranges for documents

produced in native format. Any native files that are produced shall be produced with the

Source File Path provided, as well as all applicable metadata fields set forth in Appendix 2.

To the extent that the receiving party requests any custom slip sheets to accompany native

files that are produced, the receiving party shall pay for the programming charges for

developing those custom slip sheets.

       F. TIFFs. Single page group IV compression TIFF images shall be provided using at

least 300 DPI print setting. Each image shall have a unique file name, which is the Bates

number of the image. The producing party will make reasonable efforts to produce these TIFF

images consistent with the appearance of the documents as kept in the ordinary course of

business.

       G. Microsoft “Auto” Feature and Macros. Microsoft Word (.doc) Microsoft Excel

(.xls) and Microsoft PowerPoint (.ppt) documents should be analyzed for the “auto” features,

where documents have an automatically updated date and time in the document that when

processed would be inaccurate for how the document was used in the ordinary course of

business. If an “auto date” is identified, the producing party will make reasonable efforts to

produce document branded with the words “Auto-updating field.”

       H. Embedded Objects. Objects embedded in Microsoft Word and RTF documents that

have been embedded with the “Display as Icon” feature shall be extracted as separate

documents and treated like attachments to the document.

       I. Compressed Files. Compressed file types (e.g., CAB, .GZ, .TAR, .Z, .ZIP) shall be

decompressed in a reiterative manner to ensure that a zip within a zip is decompressed into the



                                                 5
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 8 of 17 PageID #: 7358




lowest possible compression resulting in individual folders and/or files.

       J. Text Files. For each document, a single text file shall be provided along with the

image files and metadata. The text file name shall be the same as the Bates number of the first

page of the document to which it corresponds. File names shall not have any special characters

or embedded spaces. Electronic text must be extracted directly from the native electronic file

unless the document was redacted, an image file, or any other native electronic file that does not

contain text to extract (e.g., non-searchable PDFs). In these instances, a text file shall be created

using OCR and shall be produced in lieu of extracted text. See Section II.C for OCR

requirements. Except in the case of redacted documents, the receiving party shall not be required

to rely upon a less accurate version of the text than the producing party.

       K. Spreadsheets. Unless redacted, spreadsheets shall be produced in native form.

       L. Microsoft PowerPoint or slide programs. Unless redacted, PowerPoint presentations

shall be produced in native format.

       M. Color Copies. On a going forward basis for documents that have not been

previously produced in the consolidated New Jersey litigation, if an original document contains

color, the Producing Party will place a mark on the document indicating that the original contains

color. Upon reasonable request, the Producing Party shall provide a color copy of any such

marked requested document that was produced in black and white.

       N. Structured Data. The parties agree to negotiate separately regarding the production

of structured database files and shared drives.

       O. Audio and Video Files. All audio files and video files shall be produced in their

native format with the Source File Path provided. For the purposes of identifying metadata to be

collected in Appendix 2, audio and video files will be considered electronic documents.



                                                  6
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 9 of 17 PageID #: 7359




        P. Exceptions. The producing party shall make reasonable efforts to limit the extent of

documents that cannot be processed.


IV. ADDITIONAL PRODUCTION PROTOCOLS REGARDING ESI AND HARDCOPY
DOCUMENTS

        A. Bates Numbering. All images must be assigned a Bates number that shall

always: (1) be unique across the entire document production, (2) maintain a constant length

(zero/0-padded) across the entire production, (3) contain no special characters or embedded

spaces, and (4) be sequential within a given document. If a Bates number or set of Bates

numbers is skipped in a production, the producing party will so note in a cover letter

accompanying the production.

        B. Attachments – Parent-Child Relationships. The parent-child relationships (the

association between an attachment and its parent document) shall be preserved. When

attachments and embedded files are combined with their parent documents, the "BegAttach"

and "EndAttach" fields, listing the unique beginning and ending number for each attachment

or embedded document, must be included in the data load file.

        C. Database Load Files/Cross-Reference Files. Documents shall be provided with (a) a

delimited metadata file (.dat or .txt) and (b) an image load file (.lfp, .opt or .dii), as detailed in

Appendix 1.

        D. File Size Limitation/Non-Standard Files. The format of production of unusually

large files and non-standard electronic files, large oversized documents (e.g., blueprints) etc.,

will be discussed before production to determine the optimal production format.

        E. Replacements. With the exception of documents that have been produced prior to the

implementation of this protocol, all files that are replaced for any reason must be annotated with

an “-R” designation appended to the original Bates number. Any Replacement files that are

                                                    7
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 10 of 17 PageID #: 7360




produced shall be accompanied with an indication within the letter or correspondence

accompanying the production that the production contains “Replacements.”

       F. Clawback Procedure. The parties incorporate herein the clawback procedure

contained in the Protective Order entered by the Court in this matter.

       G. Date Scope. The parties agree to negotiate separately regarding any date scope

limitation regarding ESI and hardcopy documents. However, it is recognized that the parties

have a duty and responsibility to supplement their responses to discovery as set forth in the

Federal Rules of Civil Procedure.

V. SUPPLEMENTAL SEARCH TERMS AND ADDITIONAL CUSTODIANS

       (A) If words, phrases, abbreviations, terms of art, idiomatic expressions, alternate

spellings (or misspellings), or particular linguistic styles which are recurrent or that are unique to

the Defendants, or which are otherwise not presently known to Plaintiffs, and such terms are

reasonably calculated to lead to the discovery of information relevant to this litigation, then

Plaintiffs may propose a search of the Defendants’ electronically stored information using such

additional search term or methodology. As with any Request for Production or for

implementation of search methodologies, any such request may be the subject of objection,

conferring and, if necessary, direction from the Court.

       (B) If in the course of discovery, additional custodians or sources who/which are

recurrent, who/which are otherwise not presently known to Plaintiffs, or who/which Plaintiffs

determine may possess materials reasonably calculated to lead to the discovery of relevant

evidence, are identified, Plaintiffs may request the custodial files of those additional custodians

and materials from these additional sources. As with any Request for Production, any such

requests may be the subject of objection, conferring and, if necessary, direction from the Court.



                                                  8
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 11 of 17 PageID #: 7361




VI. ARCHIVED AND BACKUP DATA

       Collection and production of responsive, non-privileged ESI will include archived data

that is reasonably accessible. If a producing party takes the position that any responsive backup

or archived data that may contain discoverable information is not “reasonably accessible” as

described by the Federal Rules of Civil Procedure, such sources shall be identified with

sufficient particularity that the requesting party may make a motion with respect thereto.

VII. COST OF ESI

       Each party will bear its costs related to the production of its own hardcopy documents

and ESI. However, each party reserves the right to seek costs, including but not limited to cost

shifting and cost sharing, related to document production and discovery pursuant to the Federal

Rules and case law. Document production is defined to include, for example,

processing, collection, review and production.

VIII. AGREEMENT DOES NOT WAIVE OR SUPERSEDE PARTIES’ DISCOVERY
RIGHTS AND/OR OBLIGATIONS UNDER THE FEDERAL RULES OF CIVIL
PROCEDURE.

       This agreement is without waiver or limitation of any rights of any party to discovery

under the Federal Rules of Civil Procedure. The obligations of any party to this agreement to

provide discovery under the Federal Rules of Civil Procedure are not limited or superseded by

this agreement.

       So stipulated this 3rd day of August, 2012.

/s/ Donna Brown Jacobs
 Attorney for Defendants Johnson & Johnson and Ethicon, Inc.


/s/ Bryan Aylstock
Plaintiffs Lead Counsel




                                                 9
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 12 of 17 PageID #: 7362




                                  APPENDIX 1: FILE FORMATS

Image Load Files

-       Every document referenced in a production image load file shall have all available

corresponding

        images, text and data.

-       Documents shall be produced in only one image load file throughout the productions,

unless that document is noted as being a replacement document in the Replacement field of the

data load file.

-       The name of the image load file shall mirror the name of the delivery volume, and should

        have an .LFP, .OPT or .DII extension (e.g., ABC001.LFP).

-       The volume names shall be consecutive (e.g., ABC001, ABC002, . . .).

-       The load file shall contain one line per image.

-       Every image in the delivery volume shall be contained in the image load file.

-       The image key shall be named the same as the Bates number of the image.

-       Load files shall not span across media (CDs, DVDs, hard drives, etc.). A separate volume

        shall be created for each piece of media delivered.

Metadata Load Files

-       The metadata load file shall use the following delimiters:

                  -Column delimiter: Pipe | (ASCII 124)

                  -Text qualifier: Caret ^ (ASCII 94)

                  -New line: Registered sign ® (ASCII 174)

-       Data for documents shall be produced in only one data load file throughout the

        productions.



                                                  10
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 13 of 17 PageID #: 7363




-    The first record shall contain the field names in the order of the data set forth in

     Appendix 2.

-    All date/time fields shall be produced in “YYYYMMDD HH:MM AM/PM (GMT)”

     format.

-    All date fields shall be produced in “YYYYMMDD” format.

-    All time fields shall be produced in “HH:MM AM/PM (GMT)” format.

-    A carriage-return line-feed shall be used to indicate the start of the next document.

-    Load files shall not span across media (CDs, DVDs, hard drives, etc.). A separate

     volume shall be created for each piece of media delivered.

-    The name of the metadata load file shall mirror the name of the delivery volume, and

     shall have a .DAT extension (e.g., ABC001.DAT).

-    The volume names shall be consecutive (e.g., ABC001, ABC002, . . .).




                                               11
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 14 of 17 PageID #: 7364




       APPENDIX 2: ESI AND HARDCOPY METADATA AND INDEX FIELDS

File Name          Field Description             Populated for   Sample Values
                                                 (email, e-
                                                 documents, e-
                                                 attachments,
                                                 physicals)
ProdBeg            Bates number for the first    All             Prefix-0000001
                   page of the document
ProdEnd            Bates number for the last     All             Prefix-0000002
                   page of the document
BegAttach          Bates number for the first    All             Prefix-0000003
                   document of the
                   attachment
EndAttach          Bates number for the last     All             Prefix-0000005
                   document of the
                   attachment
PgCount            Number of printed pages       All             2
                   of the document
AttachmentCount    The total number of           All             3
                   produced attachments.




Custodian_Source   Custodian name produced       All             Smith, Jane; Smith,
                   in format: Lastname,                          John A.; Smith, John
                   Firstname. Where                              B.; Taylor, Michael
                   redundant names occur,
                   individuals should be
                   distinguished by an initial
                   which is kept constant
                   throughout productions
                   (e.g., Smith, John A. and
                   Smith, John B. A non-
                   human name (i.e., server
                   name or data name) or
                   designation such as “loose
                   files” can be used.
Confidentiality    Indicates if the document     All             Consistent with the
                   has been designated as                        markings specified by
                   “Confidential” pursuant to                    the Protective Order
                   any applicable Protective
                   Order



                                           12
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 15 of 17 PageID #: 7365



File Name         Field Description             Populated for   Sample Values
                                                (email, e-
                                                documents, e-
                                                attachments,
                                                physicals)
Document Type     Descriptor for the type of    All             Email
                  document: “File” for
                  electronic documents not
                  attached to emails;
                  “Email” for all emails;
                  “Attachment” for files that
                  were attachments to
                  emails; and “Physicals” for
                  hard copy physical
                  documents that have been
                  scanned and converted to
                  an electronic image.




EmailSubject      Subject line of an email.                     Text of the subject line
To                To extent available, all      Email           Larry.murphy@email.c
                  SMTP addresses of all                         om
                  recipients that were
                  included on the “To” line
                  of the email. Multiple
                  recipients should be
                  delimited by a semicolon.
CC                To extent available, the      Email           Sstephens44@email.co
                  email addresses of all                        m
                  recipients that were
                  included on the “CC” line
                  of the email.
BCC               To extent available,          Email           Ceo-gs@email.com
                  the email addresses of all
                  recipients that were
                  included on the “BCC”
                  line of the email.




                                         13
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 16 of 17 PageID #: 7366



File Name          Field Description              Populated for   Sample Values
                                                  (email, e-
                                                  documents, e-
                                                  attachments,
                                                  physicals)
Attach             The file name(s) of the        Email, e-       AttachFilename1.ext
                   produced documents             documents
                   attached to emails or e-
                   documents. E-documents
                   with embedded documents
                   such as documents
                   contained in a .ZIP file
                   should have the embedded
                   document name(s) listed
                   here. Multiple files should
                   be delimited by a
                   semicolon.
                   [We will substitute the
                   below 7 date fields that are
                   being produced in NJ]
DateSent           Sent date of an email          Email           YYYYMMDD
                   message.

DateRcvd           Sent date of an email          Email           YYYYMMDD
                   message.

DateCreated        Creation date of native file. E-documents      YYYYMMDD


Date/TimeLastMod   Date and time a native file    E-documents     YYYYMMDD
                   was last modified.

TimeSent           Time an email message          Email           HH:MM AM/PM
                   was sent.

TimeCreated        Creation time of a native      E-documents     HH:MM AM/PM
                   file.

ReceivedTime       An email’s date and time       Email           HH:MM AM/PM
                   when the email was
                   received.
Title              Any value populated in the     E-documents, e- Title
                   Title field of the document    attachments
                   properties.
Subject            Any value populated in the     E-documents, e- Subject
                   Subject field of the           attachments
                   document properties.

                                           14
Case 2:12-md-02327 Document 632-1 Filed 06/03/13 Page 17 of 17 PageID #: 7367



File Name            Field Description             Populated for   Sample Values
                                                   (email, e-
                                                   documents, e-
                                                   attachments,
                                                   physicals)
Author               Any value populated in the    E-documents, e- Author
                     Author field of the           attachments
                     document properties
DocExt               The file extension of the     Email, e-       Htm
                     document is defined as the    documents, e-
                     substring of the file name    attachments
                     which follows but does not
                     include the last occurrence
                     of the dot character.
Size                 Size (in bytes) of the        Email, e-       1408
                     original file.                documents, e-
                                                   attachments



EdFolder/EDSource Full path to source files (if
                  e-docs or loose email) or
                  folder path contained with
                  a mail source (if NSF or
                  PST)
Hash Value        Checksum for a file, a           Email, E-       e4d909c290d0fb1ca06
                  128-bit value.                   documents, e-   8ff
                                                   attachments     addf22cbd0
Other Sources        Since global de-duping is     Email; E-       Last Name, First Name
                     being used – this field will  Documents; e-
                     track all other custodians    Attachments
                     that had possession of this
                     file.
From                 The name and email           Email            Bart.Cole@email.com
                     address of the sender of the
                     email




                                            15
